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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

   Evan and Avi Schottenstein,
                                                                CASE NO. 1:23-CV-20604
                              Plaintiffs,

                   vs.

   Cathryn Rebecca Schottenstein-Pattap

                              Defendant.


                       MOTION TO APPEAR PRO HAC VICE,
                   CONSENT TO DESIGNATION, AND REQUEST TO
             ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

        In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer

 Review, and Discipline of Attorneys of the United States District Court for the Southern District

 of Florida, the undersigned respectfully moves for the admission pro hac vice of J. Erik Connolly

 of the law firm of Benesch, Friedlander, Coplan & Aronoff, LLP, 71 S. Wacker Drive, Suite 1600,

 Chicago, IL 60606, (312) 212-4961, for purposes of appearance as co-counsel on behalf of

 Plaintiffs in the above-styled case only, and pursuant to Rule 2B of the CM/ECF Administrative

 Procedures, to permit J. Erik Connolly to receive electronic filings in this case, and in support

 thereof states as follows:

        1.      J. Erik Connolly is not admitted to practice in the Southern District of Florida and

 is a member in good standing of the State of Illinois & Supreme Court of Illinois, U.S. Court of

 Appeals for the Seventh Circuit, U.S. District Court, Northern District of Illinois, and U.S. District

 Court, Eastern District of Michigan.

        2.      Movant, Matthew Langley, Esquire, of the law firm of Benesch, Friedlander,

 Coplan & Aronoff, LLP, 71 S. Wacker Drive, Suite 1600, Chicago, IL 60606, (312) 212-4961, is

 a member in good standing of The Florida Bar and the United States District Court for the Southern


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 District of Florida and is authorized to file through the Court’s electronic filing system. Movant

 consents to be designated as a member of the Bar of this Court with whom the Court and opposing

 counsel may readily communicate regarding the conduct of the case, upon whom filings shall be

 served, who shall be required to electronically file and serve all documents and things that may be

 filed and served electronically, and who shall be responsible for filing and serving documents in

 compliance with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF

 Administrative Procedures.

           3.    In accordance with the local rules of this Court, J. Erik Connolly has made payment

 of this Court’s $200.00 admission fee. A certification in accordance with Rule 4(b) is attached

 hereto.

           4.    J. Erik Connolly, by and through designated counsel and pursuant to Section 2B

 CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic

 Filings to J. Erik Connolly at email address: econnolly@beneschlaw.com.

           WHEREFORE, Matthew Langley, moves this Court to enter an Order J. Erik Connolly, to

 appear before this Court on behalf of Plaintiffs, for all purposes relating to the proceedings in the

 above-styled matter and directing the Clerk to provide notice of electronic filings to J. Erik

 Connolly.

 Dated: February 15, 2023                                  Respectfully submitted,

                                                           By: /s/ Matthew Langley
                                                           Matthew Langley (FL ID 97331)
                                                           Benesch, Friedlander, Coplan & Aronoff
                                                           LLP
                                                           71 South Wacker Drive, Suite 1600
                                                           Chicago, Illinois 60606-4637
                                                           Telephone: 312.212.4949
                                                           Facsimile: 312.767.9192

                                                           Attorney for Plaintiffs



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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

   Evan and Avi Schottenstein,
                                                                CASE NO. 1:23-CV-20604
                           Plaintiffs,

                   vs.

   Cathryn Rebecca Schottenstein-Pattap

                           Defendant.


                              CERTIFICATION OF J. ERIK CONNOLLY

        J. Erik Connolly, Esquire, pursuant to Rule 4(b)(1) of the Rules Governing the Admission,

 Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the

 Local Rules of the United States District Court for the Southern District of Florida; (2) I am a

 member in good standing of the Supreme Court of Illinois, U.S. Court of Appeals for the Seventh

 Circuit, U.S. District Court, Northern District of Illinois, and U.S. District Court, Eastern District

 of Michigan; and (3) I have not filed more than three pro hac vice motions in different cases in this

 District within the last 365 days.




                                                       J. Erik Connolly




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   Evan and Avi Schottenstein,
                                                                CASE NO. 1:23-CV-20604
                          Plaintiffs,

                   vs.

   Cathryn Rebecca Schottenstein-Pattap

                          Defendant.


                        ORDER GRANTING MOTION TO APPEAR
               PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

        THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for J.

 Erik Connolly, Consent to Designation, and Request to Electronically Receive Notices of

 Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer

 Review, and Discipline of Attorneys in the United States District Court for the Southern District

 of Florida and Section 2B of the CM/ECF Administrative Procedures.              This Court having

 considered the motion and all other relevant factors, it is hereby

        ORDERED AND ADJUDGED that:

        The Motion is GRANTED. J. Erik Connolly, may appear and participate in this action on

 behalf of Plaintiffs. The Clerk shall provide electronic notification of all electronic filings to J.

 Erik Connolly, at econnolly@beneschlaw.com.

        DONE AND ORDERED in Chambers at                                    , Florida, this ______ day
 of February, 2023.

                                                                      United States District Judge

 Copies furnished to: All Counsel of Record



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